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                                          Law Offices of
                             JAMES E. BAHAMONDE, P.C.
                                           2501 Jody Court
                                      North Bellmore, NY 11710
                                   Long Island Tel. (516) 783-9662
                                   New York City Tel. (646) 290-8258
                                       Fax No. (646) 435-4376
                                     James@CivilRightsNY.com



                                                                June 6, 2018

BY ECF


Hon. George B Daniels
United States Courthouse
Southern District of New York
500 Pearl St., Room 1310
New York, NY 10007

                                RE.    Zayas v. 10th Avenue Kostas LLC, et al
                                       S.D.N.Y. 17cv5933 (GBD)(KHP)

Dear Judge Daniels:

This office represents the plaintiff in the above referenced action. On behalf of all parties, I
submit this joint application requesting an extension of the deadline to restore.

On May 8, 2018, the court ordered to close the instant action, without prejudice to restore the
action to the court’s counter if an application to restore is made within 30 days. Since this time,
parties have finalized the terms of a settlement agreement. Presently, we are exchanging the
agreement to be executed. Consequently, we respectfully request a 14 day extension of the date
to restore.



Thank you.


                                       Respectfully Yours,

                                       /s/ James E Bahamonde

                                       James E. Bahamonde, Esq.

cc:
Daniel F. Lynch
Attorney for Defendants
20 Vesey Street, Suite 410
New York, NY 10007
